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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  AT ASHLAND


 CASE NO. 13-cr-22-DLB                                  ELECTRONICALLY FILED


 UNITED STATES OF AMERICA,                                           PLAINTIFF,

 VS:                                 MOTION

 ROBERT L. EVANS                                                     DEFENDANT.

                             ** ** ** ** ** ** **

             Comes now the Defendant, Robert L. Evans, by and

 through counsel, and pursuant to 18 U.S.C. §3552(b) asserts that

 it would be in the best interest of the Court and the Defendant

 before imposing final sentencing to have the Defendant examined

 pursuant to the provisions of 18 U.S.C. §3552(c).              This request

 is being made as the Defendant has, in the past, exhibited mental

 deficiencies not only related to his drug abuse, but also due to

 the fact that, according to his family, he has suffered numerous

 blows to the head, including a baseball bat and a billy stick.

 Furthermore, the undersigned was asked by the Honorable Michael

 Campbell if there was problems with the client and the Court had

 the opportunity to observe his mannerisms which suggest that

 although he is competent, he does suffer from a illness directly

 related to his mental condition.          The Defendant submits that all

 of this is relevant and an important factor for the Court to

 consider in fashioning a sentence that is appropriate, taking

 into consideration 18 U.S.C. §3553(a)(1) as it relates to the

 history and characteristic of this individual.
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       WHEREFORE, the Defendant prays that a presentence study and

 report be granted.

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                                      /s/ Michael J. Curtis
                                      MICHAEL J. CURTIS

                           CERTIFICATE OF SERVICE

             I hereby certify that on the 31st day of October, 2014,

 I electronically filed the foregoing with the Clerk of the Court

 by using the CM/ECF system, which will send the Notice of

 Electronic Filing to:

 Anthony J. Bracke, U.S. Attorney, Ft. Mitchell, Kentucky

                                      /s/ Michael J. Curtis
                                      MICHAEL J. CURTIS




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